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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

WILLERT HOME PRODUCTS, INC.,                     )
                                                 )
              Plaintiff,                         )
                                                 )
        vs.                                      )         Case No. 4:20-cv-01151-MTS
                                                 )
DRIVELINE RETAIL MERCHANDISING,                  )
INC.,                                            )
                                                 )
              Defendant.                         )

                                 MEMORANDUM AND ORDER

         Plaintiff, Willert Home Products, Inc., and Defendant, Driveline Retail Merchandising,

Inc., each moved for summary judgment in this case on November 15, 2021, Docs. [45] & [52],

and responses to the motions are soon due. See Doc. [32]. On November 29, 2021, Plaintiff

moved to strike Defendant’s Statement of Uncontroverted Material Facts, Doc. [54], “for failing

to comply with” Federal Rule of Civil Procedure 56 and this Court’s Local Rule 4.01(E), Doc.

[64].    After reviewing Defendant’s Statement of Uncontroverted Material Facts, the Court

concludes that Defendant did not comply with those rules. Accordingly, the Court will strike

Defendant’s statement of uncontroverted material facts without prejudice and allow Defendant to

refile a proper one.

              Summary judgment is appropriate only when there is “no genuine dispute as to any

material fact.” Fed. R. Civ. P. 56(a) (emphasis added). To facilitate the determination of

whether a genuine dispute of material fact exists, the local rules of this Court require a party

moving for summary judgment to file a Statement of Uncontroverted Material Facts (“SUMF”).

L.R. 4.01(E). As the name suggests, only facts that are both uncontroverted and material should

be included. Of course, there will be instances when parties disagree, in good faith, whether a
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particular fact is material or whether the cited material actually supports or contravenes a

particular fact.   But plainly immaterial and plainly controverted facts have no place in a

Statement of Uncontroverted Material Facts.          Here, Defendant submitted 129 numbered

paragraphs in its SUMF. Doc. [54]. Plaintiff argues that “many” are controverted and that

“many” are “clearly not material to the summary judgment issues.” Doc. 65 at [2].

       The Court cannot determine at this point how many, if any, are controverted or

immaterial. Regardless, Plaintiff points out an issue with another aspect of Defendant’s SUMF

that the Court can plainly see upon an initial review. Local Rule 4.01(E) requires that the SUMF

state “each relevant fact in a separately numbered paragraph stating how each fact is established

by the record, with appropriate supporting citation(s).” (emphasis added). Numerous paragraphs

within Defendant’s SUMF state multiple facts followed by a string of citations. This practice

violates the local rule and makes responding to — and ruling on — the summary judgment

motion exceedingly more difficult and does not help “to secure the just, speedy, and inexpensive

determination of every action and proceeding.” See Fed. R. Civ. P. 1.

                                          CONCLUSION

       In sum, Defendant should review its Statement of Uncontroverted Material Facts, remove

any plainly immaterial facts and plainly controverted facts, and ensure each fact is cited with its

own direct citation to record evidence.      Defendant shall file its new SUMF no later than

Wednesday, December 15, 2021. Failure to do so will result in the striking of the current SUMF

with prejudice. In addition, responses to all pending motions — including Defendant’s Motion

for Summary Judgement and any updated SUMF — shall be filed by December 30, 2021. Any

replies to all pending motions shall be filed by January 7, 2022.

       Accordingly,


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      IT IS HEREBY ORDERED that Plaintiff’s Motion to Strike, Doc. [64], is GRANTED.

Defendant’s Statement of Uncontroverted Material Facts, Doc. [54], is STRICKEN without

prejudice.

      IT IS FURTHER ORDERED that the response and any reply deadlines to all pending

motions are AMENDED as discussed herein.

      IT IS FURTHER ORDERED that Plaintiff’s Motion for Extension of Time, Doc. [66],

is DENIED as moot.

      Dated this 3rd day of December, 2021.




                                         MATTHEW T. SCHELP
                                         UNITED STATES DISTRICT JUDGE




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